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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION


 IN RE:                                        §
                                               §                CASE NO. 21-60280
 CORRY DAVIS MARKETING, INC.,                  §
                                               §
          DEBTOR.                              §
                                               §                CHAPTER 11
 542 East Hwy. 64                              §
 Canton, Texas 75103                           §
 EIN: xx-xxx8498                               §

  ORDER APPROVING EMPLOYMENT OF ALLIE BETH ALLMAN & ASSOCIATES
         AS REAL ESTATE BROKER FOR DEBTOR-IN-POSSESSION

          On this date, the Court considered the Application of Corry Davis Marketing, Inc.,

 Debtor-in-Possession, for an order approving the employment of Allie Beth Allman &

 Associates as real estate broker for the Debtor-in-Possession in the above-referenced

 case. The Application has been properly served as required by LBR 2014 and no

 objection to the Application has been timely filed by any party. Upon review of the

 Application, it appears to the Court that the proposed professional is “disinterested” as

 that term is defined in 11 U.S.C. §101(14) and that the proposed professional

 represents or holds no interest adverse to the Estate. Accordingly,

          IT IS THEREFORE ORDERED that the Application is GRANTED and that the

 employment of Allie Beth Allman & Associates as real estate broker for the Debtor-in-

 Possession in the above-referenced case is hereby APPROVED, with such

 compensation as may be awarded by the Court upon proper application submitted

 pursuant to Fed. R. Bankr. P. 2016(a) and LBR 2016-1.
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